     Entered on Docket January 19, 2022                 Below is the Order of the Court.



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                                                        _____________________
 2                                                      Christopher M. Alston
                                                        U.S. Bankruptcy Judge
 3                                                      (Dated as of Entered on Docket date above)

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                       UNITED STATES BANKRUPTCY COURT
11                WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     IN RE                                          )     CASE NO: 21-11288
13                                                  )
     ALBERTO TANGONAN TANGONAN JR,                  )     ORDER OVERRRULING
14                                                  )     TRUSTEE’S OBJECTION TO
                                                    )     DEBTOR’S HOMESTEAD
15                                Debtor(s).        )     EXEMPTION
                                                    )
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             THIS MATTER having come on regularly for hearing upon the Trustees Motion
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     for an Order Determining Debtors Exemption, filed in connection with the Trustee’s
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     objection to debtors Homestead exemption regarding debtor’s property located at 3461
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     NE Partridge Hollow Road, Bremerton, WA 98310 (Tax Parcel #4724-000-009-0008);
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     the trustee, EDMUND J. WOOD, appearing by and through his attorney RORY C.
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     LIVESEY, Debtor appearing by and through his attorney , DAVID CARL HILL; the
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     Court having reviewed the records on file herein and considered argument of counsel; the
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     Court having made Findings of Fact and Conclusions of Law on the record which are
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     incorporated herein by this reference pursuant to Fed. R. Civ. P. 52(c ), made applicable
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     to these proceedings pursuant to Fed. R. Bank. P. 7052; and being otherwise fully
26                                                                                           LAW OFFICE OF
                                                                                          DAVID CARL HILL,
27                                                                                           Hill Law.Com, P.S.
                                                                                 1521 SE PIPERBERRY WAY STE 137
      Order Overruling                                                                PORT ORCHARD, WA 98366
                                                                                  (360) 876-5015 FAX: (360) 895-1491
28    Trustee Objection to Homestead Exemption - 1 -




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 1   apprised in the premises; now, therefore, it is hereby
 2          ORDERED, ADJUDGED AND DECREED that the Trustee’s Objection to
 3   Debtors Homestead Exemption under RCW 6.13.010 and 070 be and it hereby is
 4   overruled and that the debtor’s homestead claim over the property property located at
 5   3461 NE Partridge Hollow Road, Bremerton, WA 98310 (Tax Parcel #4724-000-009-
 6   0008) is hereby allowed.
 7   ///End of Order///
 8   Presented by:
 9
10   /s/David Carl Hill
     DAVID CARL HILL, WSBA #9560
11   Attorney for Debtor
12
     Approved for entry:
13
     /s/Rory C. Livesey
14   RORY C. LIVESEY, WSBA #17601
     Attorney for EdmonD
                  Edmund J. Wood, Trustee
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26                                                                                      LAW OFFICE OF
                                                                                     DAVID CARL HILL,
27                                                                                      Hill Law.Com, P.S.
                                                                            1521 SE PIPERBERRY WAY STE 137
      Order Overruling                                                           PORT ORCHARD, WA 98366
                                                                             (360) 876-5015 FAX: (360) 895-1491
28    Trustee Objection to Homestead Exemption - 2 -




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